Case 1:23-cv-21445-LMR Document 90 Entered on FLSD Docket 06/12/2024 Page 1 of 9




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                     Case No.: 1:23-CV-21445

  PERLAND TITLE & ESCROW SERVICES
  CORP., a Florida corporation,

         Plaintiff,

  vs.

  AUTONOMY INVESTMENT PUERTO RICO,
  LLC, a Florida limited liability company; and
  ULLA HOLDING, INC., a Delaware corporation,

        Defendants.
  ________________________________________/

        PLAINTIFF’S, PERLAND TITLE & ESCROW SERVICES, CORP., VERIFIED
                   MOTION FOR ATTORNEYS’ FEES AND COSTS

         Pursuant to S.D. Fla. L.R. 7.3, 28 U.S.C. § 1335, Fed. R. Civ. P. 22 and this Court’s Order

  Granting Plaintiff’s Renewed Motion for Entry of Summary Judgment Interpleader (the “Summary

  Judgment Order”) [D.E. 89], Perland Title & Escrow Services Corp. (“Perland”), by and through

  its undersigned counsel, hereby files this Motion for Attorneys’ Fees and Costs.

                                   Brief Procedural Background

         This lawsuit arises out of a contract dispute between Defendants, Ulla Holding, Inc.

  (“Ulla”) and Autonomy Investment Puerto Rico LLC (“Autonomy”). Ulla agreed to purchase a

  condominium from Autonomy for $2,400,000, with Ulla depositing $100,000 into an escrow

  account with Perland. Summary Judgment Order, at p. 1. The deal failed, and Ulla filed suit against

  Autonomy in state court seeking return of the deposit. Autonomy successfully removed that matter

  to this Court. Id. at p. 2. Autonomy then moved to dismiss Ulla’s complaint, and after Ulla’s

  counsel withdrew, Ulla defaulted on an order directing it to obtain new counsel, and failed to


                                                  1
Case 1:23-cv-21445-LMR Document 90 Entered on FLSD Docket 06/12/2024 Page 2 of 9




  respond to the motion to dismiss, Autonomy ultimately succeeded in obtaining a final order

  declaring that Ulla “shall take nothing from Defendant [Autonomy] through this action.” Id.

  However, the dismissal order included a footnote stating “[t]o the extent that Defendant

  [Autonomy] seeks affirmative relief in its favor and against Plaintiff [Ulla], declaratory or

  otherwise, Defendant [Autonomy] must file its own lawsuit seeking such relief.” Id. Meanwhile,

  the $100,000 deposit remained in Perland’s account. Id.

          Perland then filed this Interpleader action naming and eventually serving both Ulla and

  Autonomy as Defendants, stating that both Defendants had claimed an interest in the $100,000

  deposit. Id. Perland, as a disinterested stakeholder, claimed no ownership over the funds, but due

  to competing demands on the money, asked to deposit the amount into the court registry. Id.

  Perland sought an order “(a) authorizing Plaintiff to pay the $100,000.00 it holds in escrow into

  the Registry of the Court; (b) discharging Plaintiff from all liability to all interested parties for such

  monies and property due; (c) requiring the interested parties identified hereby to interplead and

  litigate between themselves their respective rights to the monies due; (d) restraining and

  permanently enjoining all interested parties subject to this action from instituting any action against

  the Plaintiff for recovery of the monies due; (e) awarding Plaintiff its reasonable attorney's fees

  and costs incurred in connection with the filing of this interpleader action, forthwith; and for any

  and all further relief as this Court deems just and proper.” Id.

          On January 4, 2024, Perland moved for summary judgment, and on May 22, 2024, the

  Court entered the Order granting Perland’s Motion, finding that “Perland established a successful

  claim for interpleader.” Id. at p. 8. In its Order, the Court agreed with Perland that “Perland

  expended time and money to bring this action and reasonably assumed it could be held liable based

  upon the footnote.” Id. at p. 9. The Order is titled “Order Granting Plaintiff’s Renewed Motion for



                                                      2
Case 1:23-cv-21445-LMR Document 90 Entered on FLSD Docket 06/12/2024 Page 3 of 9




  Entry of Summary Judgment Interpleader” and in the Order the Court rules that “Plaintiff’s Motion

  for Summary Judgment, [ECF No. 72], is GRANTED to the extent that Perland has filed a proper

  interpleader action and has a right to reasonable attorneys’ fees.” Id. at p. 10.

                                 Perland’s Entitlement to Fees and Costs

          As an interpleader actor in good faith, Perland is entitled to a finding of entitlement to

  attorneys’ fees and costs. “[A]lthough such awards are within the court’s discretion; they are

  common where the [disinterested] stakeholder has acted in good faith.” Katsaris v. United States,

  684 F.2d 758, 763 (11th Cir.1982). See also Morgan Stanley v. Mejia de Del Corral, 2019 WL

  5291009, at *1 (S.D. Fla. July 9, 2019) (granting Morgan Stanley’s motion for interpleader

  attorneys’ fees). Indeed, in its Order the Court found that “Perland established a successful claim

  for interpleader” and agreed with Perland that “Perland expended time and money to bring this action

  and reasonably assumed it could be held liable based upon the footnote.” See Order at pp. 8-9. Indeed,

  the Order is titled “Order Granting Plaintiff’s Renewed Motion for Entry of Summary Judgment

  Interpleader” and in the Order the Court rules that “Plaintiff’s Motion for Summary Judgment, [ECF

  No. 72], is GRANTED to the extent that Perland has filed a proper interpleader action and has a right

  to reasonable attorneys’ fees.” Id. at p. 10. Therefore, Perland has established its entitlement to an

  award of reasonable fees and costs.

                   Perland’s Request for an Award of Reasonable Fees and Costs

          Pursuant to Southern District of Florida Local Rule 7.3, in order to be awarded its reasonable

  fees and costs, Perland must: “(1) state the amount sought; (2) disclose the terms of any applicable fee

  agreement; (3) provide information regarding timekeepers, hours expended, tasks completed, and

  hourly rates claimed; (4) provide invoices; (5) include a verification; and (6) include the detailed

  certification of conferral.”




                                                     3
Case 1:23-cv-21445-LMR Document 90 Entered on FLSD Docket 06/12/2024 Page 4 of 9




          Perland seeks $34,495.00 in fees and $931.39 in costs in connection with this matter. The

  timekeepers who worked on this file are undersigned counsel, Ellen Marie Patterson, her law partner,

  Jezabel P. Lima, and a summer associate, Katelyn Garciga. Ms. Patterson and Ms. Lima are both

  experienced trial attorneys who specialize in complex real estate litigation matters. Ms. Patterson has

  frequently assisted with lectures and presentations at seminars and assemblies regarding real property

  disputes.

          Ms. Patterson is a partner at the law firm of Levine Kellogg Lehman Schneider + Grossman,

  LLP (the “Firm”), has been practicing law in the State of Florida since 2001, and is a member in good

  standing of the Florida, Southern District of Florida and Middle District of Florida Bars. Ms. Patterson

  graduated with her juris doctorate from the University of Miami School of Law in 2001. She received

  a Bachelor of Arts from Duke University in 1998. Ms. Patterson joined the Firm as a partner in 2017.

  Prior to joining the Firm, Ms. Patterson worked as a senior associate at Rothman & Tobin, P.A. for

  nearly 14 years, a firm specializing in real estate transactions and commercial and real estate litigation.

          Ms. Lima is a partner at the Firm, has been practicing law in the State of Florida since 2001,

  and is a member in good standing of the Florida, District of Columbia, Southern District of Florida,

  Middle District of Florida, and Northern District of Florida Bars. Prior to becoming a partner at the

  Firm in 2015, she worked with the Firm as Of Counsel, while she maintained her own law practice,

  which she formed in 2010. Prior to forming her own law practice, she was a partner at Tew Cardenas,

  where she worked from 2002 until 2010 and was an associate with Shutts & Bowen, where she began

  her legal career as a summer associate, in 2001. Ms. Lima graduated with her juris doctorate, magna

  cum laude, from Florida State University College of Law in 2001. She was a member of the Florida

  State University College of Law Review. Ms. Lima graduated magna cum laude, from Florida

  International University in 1998, where she received a Bachelor of Business Administration.




                                                      4
Case 1:23-cv-21445-LMR Document 90 Entered on FLSD Docket 06/12/2024 Page 5 of 9




           During the summer of 2023, Ms. Garciga was employed by the Firm as a summer associate.

  Ms. Garciga recently graduated from Florida International University College of Law, where she was

  a staff member of the Law Review. Ms. Garciga received a Bachelor of Business Administration from

  the University of Florida, Warrington College of Business in 2021. Prior to working at the Firm, Ms.

  Garciga served as a judicial intern for the Honorable Robert A. Mack, United States Bankruptcy Court

  Judge for the Southern District of Florida. Ms. Garciga has accepted a post graduate offer to clerk for

  the Honorable Judge Grossman in the U.S. Bankruptcy Court for the Southern District of Florida and

  expects to begin this position after passage of the Florida Bar examination.

           Pursuant to the retainer agreement between the Firm and Perland, Perland agreed to pay Ms.

  Patterson a discounted hourly rate of $350 per hour (which is less than half of Ms. Patterson’s typical

  hourly rate of $775 per hour) in the event that this interpleader action was contested. A copy of this

  retainer agreement is attached hereto as Exhibit “1.” Perland also agreed to pay the Firm’s standard

  hourly rate for Ms. Lima of $775 per hour, but the Firm ultimately reduced Ms. Lima’s rate to $350

  per hour, as well, for this matter. It is undisputed that Autonomy contested the interpleader.

           The total number of hours expended on this matter for each timekeeper and their respective

  hourly rate is summarized in the following chart:

   Timekeeper                        Hours billed                       Amount billed

   Ellen Patterson                   58                                 $20,300.00

   Jezabel Lima                      41.7                               $14,595.00

   Katelyn Garciga                   3                                  $600



   Total                             102.7                              $35,495.00


  The tasks completed by each timekeeper are set forth in the invoices attached hereto as Exhibit “2.”



                                                      5
Case 1:23-cv-21445-LMR Document 90 Entered on FLSD Docket 06/12/2024 Page 6 of 9




              In support of this Motion, Perland respectfully submits the affidavit of its fee expert, Carlos D.

  Lerman, an attorney licensed to practice law in the State of Florida and duly admitted and qualified to

  practice in the United States District Court for the Southern District of Florida since 1988. See Affidavit

  of Reasonable Attorneys’ Fees, at ¶ 1, attached hereto as Exhibit “3.” Mr. Lerman’s primary practice

  area is real estate and commercial litigation. See id. at ¶ 2. Mr. Lerman opines that the reasonable fees

  for the services provided by the Firm for Perland in this matter would be $49,850. See id. at ¶ 7. Mr.

  Lerman calculates this fee based upon the total time spent by attorneys Patterson and Lima (i.e., 99.7

  hours) at an hourly rate of $500 per hour. Mr. Lerman further opines that the billing rate of $350 per

  hour is far below the reasonable and customary billing rate in the community for attorneys with Ms.

  Patterson’s and Ms. Lima’s experience. See id. Therefore, according to Mr. Lerman, the fee that

  Perland seeks to recover in this case is actually $14,355 less than the reasonable fee that this matter

  commands. 1

              The costs expended on this matter are the following:

      Cost                                                    Amount

      Filing fee                                              $431.00

      Service of process fees                                 $175.00

      Postage                                                 $24.73

      Delaware Corporation Information Fee (Ulla)             $20.00

      Westlaw                                                 $258.66

      Pacer                                                   $22.00

      Total                                                   $931.39




  1
    Mr. Lerman formed the foregoing opinions based upon conversations with undersigned counsel, a
  review of the detailed time entries contained in the Firm’s invoices, the Firm’s retainer agreement with
  Perland, the docket for this case, and the filings in this matter. See id. at ¶ 6.

                                                          6
Case 1:23-cv-21445-LMR Document 90 Entered on FLSD Docket 06/12/2024 Page 7 of 9




         Importantly, Perland’s attorneys’ fees and costs would be much lower if Autonomy had

  agreed to the interpleader order which Perland repeatedly proposed since the inception of this

  case, instead of vigorously and unreasonably litigating against it. Since it commenced this lawsuit,

  Perland requested Autonomy’s consent to deposit the interpleader funds into the Court’s registry,

  but Autonomy refused to allow Perland to do so. In fact, Autonomy, by and through its counsel,

  not only strenuously opposed Perland’s summary judgment motion for interpleader 2 but made its

  sole purpose in this lawsuit to harass Perland by sending menacing emails to Perland’s counsel,

  essentially on a weekly basis (sometimes multiple times a day), propounding unnecessary and

  pointless document production requests and interrogatories on Perland, and even going so far as

  to improperly issue a subpoena to Perland’s bank, City National Bank of Florida, seeking “all

  monthly bank statements, cancelled checks, and records of incoming and outbound wires for any

  account in the name of Perland Title & Escrow Services Corp. or any account with the EIN 59-

  12 ding but not limited to the account ending in xxxx-802, from January 1, 2021 to the present

  time [emphasis added],” for which Perland was forced to file a Motion to Quash and/or for

  Protective Order [44]. 3 But for Autonomy’s unreasonable litigation against Perland in this matter,

  Perland’s fees and costs would have been minimal. It is only due to the actions of Autonomy that

  Perland has incurred the majority of its fees and costs, fees that it otherwise never would have



  2
    For example, Perland was forced to respond to Autonomy’s extensive summary judgment
  response brief [D.E. 75], which cites to no less than twenty cases.
  3
    Autonomy eventually withdrew the subpoena, but only two days prior to the hearing scheduled
  with the magistrate on Perland’s Motion to Quash and/or for Protective Order (after Perland
  followed the process to request, clear and obtain the hearing). This conducted is well documented
  in the invoices attached hereto as Exhibit “2.” See e.g., July, August, and September 2023
  invoices reflecting Autonomy’s strenuous opposition to the entry of an interpleader order,
  unnecessary discovery requests to Plaintiff, and attempted issuance of a subpoena. By contrast,
  Perland’s numerous attempts to resolve this matter through an agreed interpleader order are
  reflected in the Firm’s October 2023 and January and February 2024 invoices.
                                                   7
Case 1:23-cv-21445-LMR Document 90 Entered on FLSD Docket 06/12/2024 Page 8 of 9




  incurred. Therefore, it is only just that Perland be reimbursed its reasonable attorneys’ fees and

  costs in pursuing this interpleader action, which this Court agrees Perland has successfully

  established. See Order at p. 8.

                                        CONCLUSION

         As an innocent stakeholder caught in the middle of this dispute, and pursuant to 28 U.S.C.

  § 1335 and Fed. R. Civ. P. 22, Plaintiff is entitled to be reimbursed its reasonable attorneys’ fees

  and costs and hereby seeks fees of $34,495.00 and costs of $931.39 for the reasons set forth herein.

                                    CERTIFICATE OF CONFERRAL

         I hereby certify that undersigned counsel for Perland conferred by telephone on June 7,

  2024 and thereafter by electronic mail with counsel for Defendant, Autonomy, regarding the

  instant Motion prior to filing same, but the parties have failed to reach an agreement on the Motion.

  Defendant, Ulla, was previously defaulted in this matter.

                                       VERIFICATION

         I, Ellen Marie Patterson, hereby certify, under oath and subject to the penalty of perjury,

  that the information contained in this Verified Motion for Attorneys’ Fees and Costs is true and

  accurate to the best of my knowledge and belief.


         Executed this 12th day of June 2024.

                                                        /s/Ellen Marie Patterson
                                                        Ellen Marie Patterson




                                                   8
Case 1:23-cv-21445-LMR Document 90 Entered on FLSD Docket 06/12/2024 Page 9 of 9




                                                      Respectfully submitted,

                                                      LEVINE KELLOGG LEHMAN
                                                      SCHNEIDER + GROSSMAN LLP
                                                      Miami Tower
                                                      100 SE 2nd Street, 36th Floor
                                                      Miami, FL 33131
                                                      Telephone: (305) 403-8788
                                                      By: /s/ Ellen Marie Patterson
                                                      ELLEN MARIE PATTERSON, ESQ.
                                                      Florida Bar No. 0520012
                                                      Email: ep@lklsg.com
                                                      Secondary Email: ph@lklsg.com


                                 CERTIFICATE OF SERVICE

         WE HEREBY CERTIFY that on June 12, 2024, the undersigned complied with service

  requirements by electronically filing this document through CM/ECF on the following:

  Chase Law & Associates, P.A.
  Kenneth E. Chase
  FBN: 017661
  Counsel for Autonomy Investment Puerto Rico, LLC
  1141 71st Street
  Miami Beach, FL 33141
  (305)402-9800

  and via U.S. Mail and email on the following:

  Ulla Holding, Inc.
  Pro-Se
  c/o Corporation Service Company, as R.A.
  251 Little Falls Drive
  Wilmington, DE 19808
  Email: delburgo@gmail.com



                                                      By: /s/ Ellen Marie Patterson
                                                      ELLEN MARIE PATTERSON, ESQ.
                                                      Florida Bar No. 0520012




                                                  9
